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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE
                                 PORTLAND DIVISION


 R.T., an individual,                              )
                        Plaintiff,                 )
                                                   )
               v.                                  )    Case No.
                                                   )
                                                   )    Judge:
 WYNDHAM HOTELS & RESORTS, INC.
                                                   )
 Serve its Registered Agent:                       )
                                                   )
 Corporate Creations Network, Inc.
                                                   )
 3411 Silverside Road                              )
                                                   )    JURY TRIAL DEMANDED
 Tatnall Building – Suite 104
                                                   )
 Wilmington, Delaware 19810                        )
                                                   )
                                                   )
 and                                               )
                                                   )
                                                   )
 G6 HOSPITALITY, LLC,                              )
                                                   )
 Serve its Registered Agent
                                                   )
 Corporation Service Company                       )
                                                   )
 251 Little Falls Drive
                                                   )
 Wilmington, Delaware 19808                        )
                                                   )
                                                   )
                        Defendants.                )
                                                   )
_____________________________________


                                          COMPLAINT

       COMES NOW the Plaintiff R.T., by and through the undersigned counsel, and respectfully

submits her complaint for damages and makes the following averments.

                                        INTRODUCTION

       1.     For years, sex trafficking ventures have brazenly operated in and out of hotels throughout

                                                  1
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this country. Criminals parade their misconduct openly on hotel properties throughout the United States

while the hotels and hospitality industry continues to neglect the criminal misconduct to continue earning

a profit at the expense of human life, human rights, and human dignity.

          2.       Defendants Wyndham Hotels & Resorts, Inc. (hereinafter “Wyndham”) and G6

Hospitality, LLC (hereinafter “G6”)1 know and have known for more than a decade that sex trafficking

repeatedly occurs under their flag throughout the country. Rather than taking timely and effective

measures to thwart this epidemic, Defendant Hotels have instead chosen to ignore the open and obvious

presence of sex trafficking on their properties, enjoying the profit from rooms rented for this explicit and

apparent purpose.

          3.       This action for damages is brought by the Plaintiff, a survivor of sex trafficking

hereinafter identified by her initials R.T., under the federal William Wilberforce Trafficking Victims

Protection Reauthorization Act of 2008 (hereinafter “TVPRA”).

          4.       R.T. was first trafficked for commercial sex as a minor in Maine. R.T. was sold via

commercial sex transactions at the Defendants’ hotel properties through force, fraud, and coercion as the

Defendants did nothing but profit.

          5.       The Plaintiff now brings this action for damages against the Defendants listed herein.

Each of the Defendants, in violation of 18 U.S.C. § 1595, knowingly benefited from facilitating a venture

that they knew, or at the very least should have known, to be engaging in sex trafficking in violation of 18

U.S.C. § 1591(a).

          6.       R.T. was advertised on www.backpage.com and sexually exploited at hotels in Portland,

Maine, including the Knights Inn, Travelodge, Howard Johnson, and Motel 6.

          7.       As a direct and proximate result of Wyndham and G6’s consistent refusals to prevent

human trafficking on their hotel properties, R.T. was sex trafficked, sexually exploited, and victimized

repeatedly at Wyndham and G6 brand hotels.



1
    Collectively, Wyndham and G6 may be referred to as “Defendant Hotels.”

                                                        2
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         8.       The Plaintiff brings this action pursuant to the Trafficking Victims Protection

Reauthorization Act 18 U.S.C. §1595, against the Defendants who enabled, harbored, held, facilitated, or

otherwise financially benefited, or any combination of the foregoing, from a sex trafficking venture in

which R.T. was trafficked for sex, sexually exploited, and victimized in violation of the TVPRA.

                                                       PARTIES

         9.       Plaintiff R.T. is a natural person who currently resides in Pensacola, Florida.

During the time she was trafficked for sex, R.T. was a resident and citizen of Maine.

                  a.        Plaintiff R.T. was a minor when she was first sold throughout Maine for the

                            purposes of commercial sex. The Plaintiff is a victim of trafficking pursuant to

                            22 U.S.C. §7102 (15) and 18 U.S.C. §1591 (a), and a victim of a “severe form

                            of trafficking” as it is defined under 22 U.S.C §7102 (14).

                  b.        Due to the sensitive nature of the issues, Plaintiff R.T. requests that this Court

                            grant a protective order pursuant to Federal Rule of Civil Procedure 26(c) to

                            permit her to proceed under a pseudonym to ensure Defendants keep Plaintiff’s

                            identity confidential throughout the pendency of the lawsuit thereafter. 2

                  c.        Generally, under the Federal Rules of Civil Procedure, pleadings must state the

                            name of all parties.3 However, there are exceptions when the issues involved are

                            of a sensitive and highly personal nature.4 For good cause, the Court may issue



2
          In cases where the plaintiffs have demonstrated a need for anonymity, the district court should use its
powers to manage pretrial proceedings under Fed. R. Civ. P. 16(b), and to issue protective orders limiting disclosure.
of the party’s name under Fed. R. Civ. P. 26(c), to preserve the party’s anonymity to the greatest extent possible
without prejudicing the opposing party’s ability to litigate the case. Does I thru XXIII v. Advanced Textile Corp., 214
F.3d 1058, 1069 (9th Cir. 2000).
3
  Fed. R. Civ. P. 10(a).
4
          A district court must balance the need for anonymity against the general presumption that the parties’
identities are public information and the risk of unfairness to the opposing party. See e.g., M.M. v. Zavaras, 139 F.3d
798, 803 (10th Cir.1998); James v. Jacobson, 6 F.3d at 238 (4th Cir.); Doe v. Frank, 951 F.2d 320, 323–24 (11th
Cir.1992); Doe v. Stegall, 653 F.2d at 186 (5th Cir.); see also Doe v. Frank at 323 (11th Cir. 1992) (holding that a
plaintiff should be permitted to proceed anonymously in cases involving matters of a highly sensitive and personal
nature, real danger of physical harm, or where the injury litigated against would be incurred as a result of the disclosure
of the plaintiff’s identity).

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                           an order to protect a party or person from annoyance, embarrassment,

                           oppression, or undue burden or expense. 5

                  d.       Here, granting pseudonym status and proceeding under seal is warranted because

                           this litigation will involve the disclosure of stigmatizing sexual information,

                           including rape. Plaintiff fears the stigma from her family, friends, employer, and

                           community if her true identity was revealed in the public record.

                  e.       Plaintiff should not be compelled to disclose her identity in order to maintain her

                           privacy and safety. Plaintiff’s privacy interest substantially outweighs the

                           customary practice of judicial openness. 6

                  f.       Moreover, Defendants will not be prejudiced. Plaintiff will agree to reveal her

                           identity to Defendants for the limited purpose of investigating Plaintiff’s claims

                           once the parties have entered into a protective order. Plaintiff simply seeks

                           redaction of Plaintiff’s personal identifying information from the public docket

                           and assurances that Defendants will not use or publish Plaintiff’s identity in a

                           manner that will compromise her personal life or future employment prospects.

         10.      Defendant Wyndham Hotels and Resorts, Inc. (“Wyndham”) is one of the largest hotel

brands in the world with nearly 9,000 branded properties in more than eighty (80) countries. It is a

Delaware corporation and can be served by its registered agent, Corporate Creations Network, Inc., at

3411 Silverside Road, Tatnall Building Suite 104, Wilmington, Delaware 19810.

                  a.       Defendant Wyndham Hotels and Resorts, Inc. is the successor entity to

                           Wyndham Worldwide Corporation. Defendant Wyndham Hotels and Resorts,

                           Inc. retains successor liability for wrongful acts of its predecessor Wyndham

                           Worldwide Corporation.


5
         Fed. R. Civ. P. 26(c).
6
         Supra n. 2 at 1068 (the court joined its 4th, 5th, 10th, and 11th sister circuits in holding that a party may
preserve his or her anonymity in judicial proceedings in special circumstances when the party’s need for anonymity
outweighs prejudice to the opposing party and the public’s interest in knowing the party’s identity).

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          b.    Travelodge® by Wyndham (“Travelodge®”) is a Wyndham Hotels and Resorts,

                Inc. brand property.

                 i.     Defendant Wyndham and the Travelodge® by Wyndham are a single

                        and joint employer with a high degree of interrelated, intermingled, and

                        unified operations at the Travelodge® by Wyndham Defendant hotel

                        where the Plaintiff was trafficked for sex. Defendant Wyndham and the

                        Travelodge® by Wyndham each share the common policies and

                        practices complained of herein.

                ii.     Defendant Wyndham and the Travelodge® jointly employ or ratify the

                        employment of individuals through horizontal joint employment and/or

                        vertical joint employment.

               iii.     As an integrated enterprise and/or joint employer, Defendant Wyndham

                        and the Travelodge® are separately and jointly responsible for

                        compliance with all applicable laws.

               iv.      As an integrated enterprise and/or joint employer, Defendant Wyndham

                        and the Travelodge® are jointly and severally liable for any damages

                        caused by their employees.

                v.      As a hotel operator, Defendant Wyndham controls the training on human

                        trafficking or    other   related policies,   including decisions      on

                        implementation and execution of policy for its branded properties,

                        including the Travelodge® hotel where R.T. was trafficked.

               vi.      Through its relationship with the staff at the Travelodge® where R.T.

                        was trafficked and the perpetrator who trafficked R.T. at Travelodge®

                        hotels, Defendant Wyndham knowingly benefited or received something

                        of value from its facilitation of, or participation in, a venture which it

                        knew or should have known had engaged in sex trafficking.

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                           vii.      Wyndham benefits financially from room rentals and other incidentals

                                     recognized by renting rooms in which the Plaintiff was sex trafficked.

                          viii.      Wyndham owned, supervised, and/or operated the Travelodge® located

                                     at 1200 Brighton Avenue, Portland, Maine 04102.7

                    c.      Howard Johnson® by Wyndham (“Howard Johnson®”) is a Wyndham Hotels

                            and Resorts, Inc. brand property.

                            i.       Defendant Wyndham and the Howard Johnson® by Wyndham are

                                     a single and joint employer with a high degree of interrelated,

                                     intermingled, and unified operations at the Howard Johnson® by

                                     Wyndham Defendant hotel where the Plaintiff was trafficked for

                                     sex. Defendant Wyndham and the Howard Johnson® by Wyndham

                                     each share the common policies and practices complained of herein.

                            ii.      Defendant Wyndham and the Howard Johnson® jointly employ or

                                     ratify the employment of individuals through horizontal joint

                                     employment and/or vertical joint employment.

                            iii.     As an integrated enterprise and/or joint employer, Defendant

                                     Wyndham and the Howard Johnson® are separately and jointly

                                     responsible for compliance with all applicable laws.

                            iv.      As an integrated enterprise and/or joint employer, Defendant

                                     Wyndham and the Howard Johnson® are jointly and severally liable

                                     for any damages caused by their employees.

                            v.       As a hotel operator, Defendant Wyndham controls the training on

                                     human trafficking or other related policies, including decisions on


7
    Upon information and belief, the Travelodge where Plaintiff R.T. was trafficked is now closed down.

                                                          6
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                        implementation and execution of policy for its branded properties,

                        including the Howard Johnson® hotel where R.T. was trafficked.

                vi.     Through its relationship with the staff at the Howard Johnson®

                        where R.T. was trafficked and the perpetrator who trafficked R.T. at

                        Howard Johnson® hotels, Defendant Wyndham knowingly

                        benefited or received something of value from its facilitation of, or

                        participation in, a venture which it knew or should have known had

                        engaged in sex trafficking.

                vii.    Wyndham benefits financially from room rentals and other

                        incidentals recognized by renting rooms in which the Plaintiff was

                        sex trafficked.

                viii.   Wyndham owns, supervises, and/or operates the Howard Johnson®

                        located at 675 Main Street, South Portland, Maine 04106.

          d.    Knights Inn® by Wyndham (“Knights Inn®”) is a Wyndham Hotels and Resorts,

                Inc. brand property.

                i.      Defendant Wyndham and the Knights Inn® by Wyndham are a

                        single and joint employer with a high degree of interrelated,

                        intermingled, and unified operations at the Knights Inn® by

                        Wyndham hotel where the Plaintiff was trafficked for sex.

                        Defendant Wyndham and the Knights Inn® by Wyndham each

                        share the common policies and practices complained of herein.

                ii.     Defendant Wyndham and the Knights Inn® jointly employ or ratify

                        the employment of individuals through horizontal joint employment

                        and/or vertical joint employment.

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                             iii.    As an integrated enterprise and/or joint employer, Defendant

                                     Wyndham and the Knights Inn® are separately and jointly

                                     responsible for compliance with all applicable laws.

                             iv.     As an integrated enterprise and/or joint employer, Defendant

                                     Wyndham and the Knights Inn® are jointly and severally liable for

                                     any damages caused by their employees.

                             v.      As a hotel operator, Defendant Wyndham controls the training on

                                     human trafficking or other related policies, including decisions on

                                     implementation and execution of policy for its branded properties,

                                     including the Knights Inn® hotel where R.T. was trafficked.

                             vi.     Through its relationship with the staff at the Knights Inn® where

                                     R.T. was trafficked and the perpetrator who trafficked R.T. at

                                     Knights Inn® hotels, Defendant Wyndham knowingly benefited or

                                     received something of value from its facilitation of, or participation

                                     in, a venture which it knew or should have known had engaged in

                                     sex trafficking.

                             vii.    Wyndham benefits financially from room rentals and other

                                     incidentals recognized by renting rooms in which the Plaintiff was

                                     sex trafficked.

                             viii.   Wyndham owned, supervised, and/or operated the Knights Inn®

                                     located at 634 Main Street, South Portland, Maine 04106.8

           11.      Defendant G6 Hospitality, LLC (“G6”) is one of the largest motel brands in the



8
    Upon information and belief, the Knights Inn where Plaintiff R.T. was trafficked is now closed down.

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world. It is a Delaware limited liability company. G6 may be served with service of process by

serving its registered agent Corporation Service Company, 251 Little Falls Drive Wilmington,

Delaware 19808.

              a.      Motel 6 Portland (“Motel 6®”) is a G6 brand property.

              b.      The Motel 6 brand operates in forty-nine (49) states. The brand’s assets

                      are strategically located throughout the United States – close to airports,

                      freeways, and other thoroughfares. In 2015, G6 was rated among the top

                      ten (10) hospitality companies.

              c.      As an integrated enterprise and/or joint employer, Defendant G6 and the Motel®

                      are separately and jointly responsible for compliance with all applicable laws.

              d.      As an integrated enterprise and/or joint employer, Defendant G6 and the Motel

                      6® are jointly and severally liable for any damages caused by their employees.

              e.      As a hotel operator, Defendant G6 controls the training on human trafficking or

                      other related policies, including decisions on implementation and execution of

                      policy for its branded properties including the Motel 6® where R.T. was

                      trafficked.

              f.      Through its relationship with the staff at the Motel 6® where R.T. was

                      trafficked and the perpetrator who trafficked R.T. at Motel 6® hotels,

                      Defendant G6 knowingly benefited or received something of value from

                      its facilitation of or participation in a venture which it knew or should

                      have known had engaged in sex trafficking.

              g.      G6 benefits financially from room rentals and other incidentals recognized by

                      renting rooms in which the Plaintiff was sex trafficked.

              h.      G6 owns, supervises, and/or operates the Motel 6® located at 1 Riverside


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                       Street, Portland, Maine 04103.

       12.     Whenever reference is made in this Complaint to any act, deed, or conduct of the

Defendants, the allegation is that the Defendants engaged in the act, deed, or conduct by or

through one or more of their officers, directors, agents, employees, or representatives who was

actively engaged in the management, direction, control, or transaction of the ordinary business

and affairs of the Defendants.

                                 JURISDICTION AND VENUE

       13.     This Honorable Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 because this

action arises under the Constitution, laws, or treaties of the United States (with an amount in

controversy that exceeds $75,000).

       14.     Venue is proper in this district pursuant to 28 U.S.C. §1391 because a substantial

part of the events or omissions giving rise to the claims asserted in this action, including the

Defendants’ misconduct and omissions, occurred in the judicial district where this action is

brought.

                       SEX TRAFFICKING UNDER FEDERAL LAW

       15.     The requirements for liability under TVPRA § 1595 on a beneficiary theory can

be stated as follows: (1) the person or entity must “knowingly benefit[], financially or by

receiving anything of value,” (2) from participating in a venture, (3) that the “person knew or

should have known has engaged in an act in violation of this chapter.” 18 U.S.C. § 1595(a).

       16.     Sex trafficking is defined by the TVPRA under 22 U.S.C. § 7102, as “the

recruitment, harboring, transportation, provision, obtaining, patronizing, or soliciting of a person

for the purposes of a commercial sex act and in which the commercial sex act is induced by force,

fraud, or coercion.” This definition combines the three elements of sex trafficking as a criminal



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offense: the act, the means, and the purpose.

        17.     To best understand the mechanism by which sex trafficking ventures are

prohibited by federal criminal law, it’s best to address these elements in the reverse. Sex

trafficking is slavery for the purpose of commercial sex, a lens on the already existing crimes

prohibited by 18 U.S.C. § 1589 and §1590. The crime of slavery can then be divided into the two

(2) elements remaining: the act and the means. The act is the “harboring, transporting, providing,

or obtaining,” of forced labor, codified as a violation of 18 U.S.C. §1590, while the means is

labor “obtained or provided by force, fraud or coercion” and is codified as a violation of 18

U.S.C. §1589.

        18.     Thus, while the complete definition of ‘sex trafficking’ is found in the TVPRA

under 22 U.S.C. § 7102, and it is specifically prohibited under 18 U.S.C. §1591, it is nevertheless

a long- recognized and familiar atrocity

                                   FACTUAL ALLEGATIONS

                    A. THE HOSPITALITY INDUSTRY’S PARTICIPATION
                           IN THE SEX TRAFFICKING INDUSTRY


    “75% of survivors responding to Polaris’s survey reported coming into contact with hotels at

    some point during their exploitation… Unfortunately, 94% also disclosed that they never

    received any assistance, concern, or identification from hotel staff.”

                                                                              -The Polaris Project9

        19.     Human trafficking is the world's fastest growing crime.10 While the term ‘human

trafficking’ incorporates all forced labor, the sex trafficking industry alone pulls in an estimated


9
 Recommendations for Hotels and Motels, THE POLARIS PROJECT, https://polarisproject.org/hotels-motels-
recommendations (last visited June 19, 2019).
10
   Human Trafficking is the World’s Fastest Growing Crime, THE ADVISORY BOARD (May 22, 2017, 9:30 AM),
https://www.advisory.com/daily-briefing/2017/05/22/human-trafficking.

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$99 billion each year making it the second largest illicit crime industry behind only the sale of all

illegal drugs.11

        20.        Sex traffickers, or ‘pimps’, use threats, violence, manipulation, lies, debt bondage,

and other forms of coercion to compel adults and children to engage in commercial sex acts against

their will.

        21.        The hospitality industry plays a crucial role in the sex trade.12 The trope of the “no-

tell motel” is certainly not a new one. Hotels have long profited from their reputations as havens

of privacy and discretion for the offending. Hotels offer anonymity and non-traceability, making

them ideal venues for crime and sex trafficking in particular.

        22.        According to National Human Trafficking Hotline statistics, hotels are the top-

reported venue, even over commercial front brothels, where sex trafficking acts occur.13

Traffickers and buyers alike frequently use hotel rooms to exploit victims.

        23.        Traffickers use hotels as the hub of their operations. Inside, the victims are

harbored, raped, assaulted, and forced to service buyers who come to the hotel solely to purchase

sex. This is referred to as an ‘in call’.

        24.        Hotels are also the venue of choice for buyers seeking an ‘out call,’ wherein the

buyer rents a hotel room and the trafficker delivers the victim to the buyer’s room to complete

the sordid transaction. Unsurprisingly, those on the demand side of this transaction (i.e. those

purchasing sex) typically choose to engage in trafficking away from their home, naturally leading



11
   Profits and Poverty: The Economics of Forced Labor, INTERNATIONAL LABOR ORGANIZATION (May 24,
2014), http://www.ilo.org/global/publications/ilo-bookstore/order-online/books/WCMS_243391/lang--en/index.htm.
12
   Giovanna L. C. Cavagnaro, Sex Trafficking: The Hospitality Industry’s Role and Responsibility, CORNELL
UNIVERSITY SCHOOL OF HOTEL ADMINISTRATION (2017),
http://scholarship.sha.cornell.edu/honorstheses/3.
13
   National Human Trafficking Hotline Statistics, THE POLARIS PROJECT (2016),
https://polarisproject.org/resources/2016-hotline statistics.

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to the increased involvement of hotels. In New York City alone, 45% of all reported sexual

exploitation took place in hotels, including the Ritz Carlton and the Plaza.14

        25.      The problem is industry wide. In the United States, as much as 63% of all

trafficking incidents happen in hotels ranging from luxury to economy.15

        26.      Due to the overall complacency of the hospitality industry on addressing the issue,

hotels are the venue of choice for sex trafficking.16 Traffickers and buyers capitalize on the hotel

industry’s general refusal to adopt and enforce company-wide anti-trafficking policies from the

corporate to the property level, train staff on what to look for and how to respond, and/or establish

safe and secure reporting mechanisms for those at the point of sale.

        27.      Every day, thousands of hotel employees witness manifestations of sex trafficking

and commercial exploitation. Thus, the hospitality industry has the greatest reach to prevent,

identify and thwart sexual exploitation where it is most likely to occur. 17

        28.      But aside from their unique position in this epidemic, hotels and motels have the

highest obligation to protect their guests from known dangers, including sex trafficking and

sexual exploitation, and should be held accountable when they fail to comply. As aptly stated in

a publication by the Cornell University School of Hospitality, “the hospitality industry is

undoubtedly involved in the sex trafficking industry…and therefore has an inherent




14
   Giovanna L. C. Cavagnaro, Sex Trafficking: The hospitality Industry’s Role and Responsibility, CORNELL
UNIVERSITY, SCHOOL OF HOTEL ADMINISTRATION (2017),
http://scholarship.sha.cornell.edu/honorstheses/3.
15
   Michele Sarkisian, Adopting the Code: Human Trafficking and the Hospitality Industry, CORNELL
HOSPITALITY REPORT, 15(15), 3-10 (2015).
16
   Hotels Initiative, THE POLARIS PROJECT, https://polarisproject.org/initiatives/hotels (last visited June 19,
2019).
17
   Combating Human Trafficking in the Hotel Industry, HUFFPOST (Jul. 22, 2015),
https://www.huffpost.com/entry/combating-human-trafficking-in-the-hotel-industry_b_7840754 (last visited
November 18, 2019).

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responsibility to deter the crime and can be liable for failing to do so.”18

        29.      Training hotel staff to identify the signs of sex trafficking and sexual exploitation

is a critical and obvious legal obligation for the hospitality industry. The presence of sex

trafficking and sexual exploitation in a hotel is frequently an obvious occurrence and, although

unutilized, underutilized, or ineffectively utilized, numerous well-researched trainings and

toolkits have been published to the hotel industry over the last decade to help hotel staff in every

position to identify the signs. 19

        30.      From check-in to check-out there are a number of indicators that traffickers and

their victims exhibit during their stay at a hotel. With proper training and the implementation of

reasonable security measures, hospitality companies could prevent regular sex trafficking under

their flag.

        31.      Obvious signs of sex trafficking at a hotel may include: an excess of condoms in

rooms, individuals carrying or flashing large amounts of cash, excessive amounts of cash stored

in the room, renting two (2) rooms next door to each other, declining room service for several

consecutive days, significant foot traffic in and out of room(s), men traveling with multiple

women who appear unrelated, women known to be staying in rooms without leaving, women

displaying physical injuries or signs of fear and anxiety, guests checking in with little or no

luggage, hotel guests who prevent another individual from speaking for themselves, or a guest

controlling another’s identification documents.20


18
   Giavanna L. C. Cavagnaro, Sex trafficking: The Hospitality Industry’s Role and Responsibility, CORNELL
UNIVERSITY, SCHOOL OF HOTEL ADMINISTRATION (2017),
http://scholarship.sha.cornell.edu/honorstheses/3.
19
   DEPARTMENT OF HOMELAND SECURITY, Blue Campaign Toolkit, attached as “Exhibit A.” Available at:
https://www.dhs.gov/sites/default/files/publications/blue-campaign/toolkits/hospitality-toolkit-eng.pdf.
20
   Id. See also, Shea M. Rhodes, Sex Trafficking and the Hotel Industry: Criminal and Civil Liability for Hotels and
their Employees, THE INSTITUTE TO ADDRESS CRIMINAL SEXUAL EXPLOITATION, Villanova University
School of Law (2015), https://cseinstitute.org/wp-content/uploads/2015/06/Hotel_Policy_Paper-1.pdf.

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        32.       Obviously, hotel staff who have undergone training are more aware of sex

trafficking when it happens and are more willing to report it than hotel staff who have not been

trained.21 Thus, hospitality companies are obligated to adopt policies and procedures related to

sex trafficking and to enforce these policies and procedures as brand standard through to the

property level.

        33.       Hospitality companies can and should mandate that all staff working at all hotel

properties across their brand complete sex trafficking training.22

        34.       The hospitality industry has been cognizant of their role and responsibilities in

the sex trafficking industry for years.

        35.       At the General Assembly of the United Nations (“UN”) convened in New York,

New York in November 2000, the Palermo Protocol to prevent, suppress, and punish trafficking

in persons was adopted.23

        36.       In this regard, End Child Prostitution and Trafficking (“ECPAT-USA”) launched

the Tourism Child-Protection Code of Conduct (the “Code”) in the United States in 2004.24

        37.       The Code identifies the following six (6) steps companies can take to prevent

child sex trafficking: (1) establish corporate policy and procedures against sexual exploitation of

children; (2) train employees in children’s rights, the prevention of sexual exploitation and how

to report suspected cases; (3) include a clause in further partner contracts stating a common


21
   Giavanna L. C. Cavagnaro, Sex Trafficking: The Hospitality Industry’s Role and Responsibility, CORNELL
UNIVERSITY, SCHOOL OF HOTEL ADMINISTRATION (2017),
http://scholarship.sha.cornell.edu/honorstheses/3.
22
   Shea M. Rhodes, Sex Trafficking and the Hotel Industry: Criminal and Civil Liability for Hotels and their
Employees, The Institute to Address Criminal Sexual Exploitation, Villanova University School of Law (2015),
https://cseinstitute.org/wp- content/uploads/2015/06/Hotel_Policy_Paper-1.pdf.
23
   Protocol to Prevent, Suppress and Punish Trafficking in Persons, Especially Women and Children, supplementing
the United Nations Convention against Transnational Organized Crime, adopted Nov. 15, 2000, 2237 U.N.T.S. 319.
24
   ECPAT-USA, No Vacancy For Child Sex Traffickers Impact Report (2017), available at:
https://static1.squarespace.com/static/594970e91b631b3571be12e2/t/59c9b6bfb07869cc5d792b8c/1506391761747/
NoVacany_Report.pdf.

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repudiation and zero tolerance policy of sexual exploitation of children; (4) provide information

to travelers on children’s rights, the prevention of sexual exploitation of children and how to

report suspected cases; (5) support, collaborate and engage stakeholders in the prevention of

sexual exploitation of children; and (6) report annually on the company’s implementation of

Code-related activities.

        38.      In 2010, the United States government released its Trafficking in Persons Report,

which included an assessment of trafficking in the United States. The Trafficking in Persons

Report 2010 stated that approximately 12.3 million adults and children were in forced labor,

bonded labor, and force prostitution around the world, but that only 4,166 trafficking

prosecutions were successful in 2009. 25

        39.      During a speech in New York City in September 2012, President Obama stated

that human trafficking “ought to concern every person, because it is a debasement of our common

humanity. It ought to concern every community, because it tears at our social fabric. It ought to

concern every business, because it distorts markets. It ought to concern every nation, because it

endangers public health and fuels violence and organized crime.”26

        40.      Statistics released in 2014 by the International Labor Organization (“ILO”)

showed that approximately 4.5 million people were victims of forced sexual exploitation globally

and that the violation of their human rights yielded an estimated annual profit of $99 billion

dollars for sex traffickers worldwide.27 Put another way, the numbers showed that a sex




25
   CNN Wire Staff, U.S. human trafficking report includes U.S. cases for first time, CNN.com (Jun. 14, 2010),
available at https://www.cnn.com/2010/US/06/14/human.trafficking/index.html#.
26
   President Barack Obama, Remarks to the Clinton Global Initiative (Sept. 25, 2012), available at
https://obamawhitehouse.archives.gov/the-press-office/2012/09/25/remarks-president-clinton-global-initiative.
27
   International Labour Office, Profits and Poverty: The Economics of Forced Labour (2014), at 13, available at
https://www.ilo.org/wcmsp5/groups/public/---ed_norm/---declaration/documents/publication/wcms_243391.pdf.

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trafficker’s annual profit per victim was approximately $22,000.00.28

         41.      A scholarly article published in 2015 estimated that pimps could earn $25,000.00

to $33,000.00 per week selling in the Atlanta, Georgia area.29 This volume of and profit from

sex trafficking also aligned with internet advertising for the sex trafficking industry occurring in

roughly the same time period. For example, in 2015, one advertisement in the Atlanta section of

the www.backpage.com website triggered 181 clients, and calls or texts from twenty-seven (27)

men expressing interest – in a span of just ninety (90) minutes.30

         42.      In December 2015, President Obama appointed eleven (11) survivors of human

trafficking to the inaugural United States Advisory Council on Human Trafficking to advise and

make recommendations on federal anti-trafficking policies to the President’s Interagency Task

Force to Monitor and Combat Trafficking in Persons. 31

         43.      The United States Department of Justice (“DOJ”) brought 248 sex trafficking

prosecutions in Fiscal Year 2015 and secured convictions against 291 sex traffickers.32 In the

previous year, DOJ convicted a total of 184 human traffickers (inclusive of labor trafficking) and

in the subsequent year, DOJ convicted a total of 439 human traffickers (inclusive of labor

trafficking).33

         44.      Despite these efforts of governmental and non-governmental organizations to

combat human trafficking, the hospitality industry as a whole, continued to lag behind in its

efforts to prevent human trafficking. A 2015 study showed that forty-five percent (45%) of


28
   Id. at 15.
29
   Sarkisian, supra n.15, at 4.
30
   Id. at 5.
31
   U.S. Dep’t of State, 2016 Trafficking in Persons Report (2016), at 41, available at
https://www.state.gov/documents/organization/258876.pdf.
32
   Id. at 389.
33
   Human Rights First, Fact Sheet 2017 (2017), available at
http://www.humanrightsfirst.org/sites/default/files/TraffickingbytheNumbers.pdf.

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children who suffered sexual exploitation report that the sexual exploitation took place in a

hotel.34

           45.   Even estimates by attorneys for the hospitality industry indicate that eight (8) out

of ten (10) arrests for human trafficking occur in or around hotels.35 The 2016 Trafficking in

Persons Report issued by the United States Department of State also confirmed that human

trafficking occurs in the hospitality industry in the United States.36

           46.   Between 2007 and March 2015, more than 1,400 human trafficking cases have

been reported to the National Trafficking Resource Center.37

           47.   The complicity of the hospitality industry is essential to the perpetuation of human

trafficking, allowing traffickers to remain transient, collect profits, and evade detection. Sex

trafficking ventures move from place to place so that they are less visible to law enforcement.

Similarly, sex traffickers also want to keep their victims moving from place to place to isolate

them from any possible means of escape or rescue. Traffickers are well aware of the seclusion

and anonymity attendant with booking rooms with hotel chains – they know it is unlikely that

they will be disturbed.

           48.   Due to the hospitality industry’s failure to embrace anti-trafficking policies and

practices, children and other vulnerable persons are trafficked for sex in hotels throughout the

United States.

           49.   In 2011, Wyndham Hotels trained only some of its employees to look for signs



34
   Sarkisian, supra n.15.
35
   Rich Keating, Human Trafficking: What It Is And How It Impacts The Hospitality Industry, Presentation
Delivered At AHIA Sprint Conference 2013, Washington, D.C., available at
http://www.ahiattorneys.org/aws/AHIA/asset_manager/get_file/92983 (last visited Mar. 1, 2019).
36
   U.S. Dep’t of State, supra n.31, at 387.
37
   Polaris, Human Trafficking and the Hotel Industry (2015), available at
https://polarisproject.org/resources/human-trafficking-and-hotel-industry.

                                                       18
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of trafficking. 38

        50.      Further, campaigns recognized the issue of human trafficking in the hotel industry

and the lack of internal policies to address the issue, and took initiatives as early as 1997 with

the United Nations Blue Heart Campaign and domestically in 2010 with the Department of

Homeland Security’s Blue Campaign.39 These efforts sought to educate both the public and

private sectors on identifying and combatting human trafficking, including the hospitality

industry and both campaigns released online resources and toolkits publicly accessible to any

entity concerned with human trafficking.40

        51.      Hospitality companies have both the power and responsibility to make sex

trafficking difficult for the offenders. Yet, they either repeatedly fail to heed the call or repeatedly

failed to execute their own policies. Instead, each continues to facilitate these crimes at their

hotels, content to direct their efforts solely towards profit and the bottom line.

           A.   THE DEFENDANTS CONTROL THE HOSPITALITY INDUSTRY

        52.      Hotel brands or flags lend their name and likeness to third party owners, while

the building and operations are run by a franchisee or a third party management company under

the brands’ control. In return, the parent brand exchanges the high risk that is inherent in owning

an asset like a hotel for the low risk associated with owning a franchise contract and still profits

from putting heads in beds.

        53.      The average consumer does not see this relationship. The parent brand gives the

franchisee property its identity. It provides signage on and in front of the building that assures


38
   Katie Lobosco, Super 8 workers trained to spot sex trafficking, CNN BUSINESS (Nov. 18, 2014),
https://money.cnn.com/2014/11/18/news/companies/days-inn-sex-trafficking/.
39
   DHS Blue Campaign Five Year Milestone, DEPARTMENT OF HOMELAND SECURITY (Jul. 22, 2015),
https://www.dhs.gov/blog/2015/07/22/dhs-blue-campaign-five-year-milestone.
40
   Human Trafficking and the Hospitality Industry, DEPARTMENT OF HOMELAND SECURITY,
https://www.dhs.gov/blue-campaign/hospitalityindustry (last visited June 19, 2019).

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customers that if they check into that hotel they can expect the standards consistent with the

parent hotel brand. The same brand emblazoned on everything in the hotel from the pens in the

bedside tables to the staff uniforms at the front desk.

        54.     In addition to brand recognition, a marketing organization, hotel listings in the

Global Distribution System (GDS) and other online travel agency databases, the brand provides

the franchise hotel with access to its brand wide central reservation system, 800 number, revenue

management tools, world-class loyalty programs and a website. Thus, booking and room

reservations are controlled by the corporate parent brand.41

        55.     The franchise hotel typically pays around 10% of their total revenue back to the

parent hotel brand and is required to develop and maintain the property in accordance with the

parent brand’s standards as they are laid out in the franchise agreement.

        56.     Per the franchise agreement, the parent brand may enforce these standards

through periodic inspections and even termination of the franchise agreement if the franchise

hotel is found to be inadequate. The right of the parent hotel brand to enforce their brand

standards is also their responsibility.

        57.     At the time of the incidents alleged herein:

                a.      Defendant Wyndham owned and controlled the Knights Inn®, Travelodge®, and

                        Howard Johnson® brands.

                b.      Defendant G6 owned and controlled the Motel 6® brand.

        58.     Parent hotel brands may kick delinquent hotels out of their system but it is at the

expense of terminating their royalty payments.

     B. THE DEFENDANTS’ ACTUAL AND/OR CONSTRUCTIVE KNOWLEDGE OF
                               SEX TRAFFICKING AT THEIR HOTELS

41
  Ellen Meyer, The Origins and Growth of Franchising in the Hotel Industry, LODGING MAGAZINE (April 10,
2018) https://lodgingmagazine.com/the-origins-and-growth-of-franchising-in-the-hotel-industry/.

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        59.      Defendants Wyndham, and G6 (“Defendant Hotels”) have been on notice of

repeated incidences of sex trafficking occurring at their Knights Inn, Travelodge, Howard Johnson,

and Motel 6 brand hotels, yet these brand managers failed to take the necessary action to prevent

sex trafficking and still persist in failing to take the necessary action to prevent sex trafficking at

their hotels.

        60.      Several courts have found failure to implement policies sufficient to combat a

known problem in one’s operations can rise to the level of willful blindness or negligence.42

        61.      WYNDHAM HOTELS AND RESORTS, INC. (“WYNDHAM”):

                 a.       For years Defendant Wyndham has been on notice of repeated incidences

                          of sex trafficking occurring on its Travelodge®, Knights Inn®, and Howard

                          Johnson® branded properties, yet Defendant Wyndham has failed to take

                          action to prevent sex trafficking at Travelodge®, Knights Inn®, and

                          Howard Johnson® brand properties and still persists in failing to take

                          necessary action to prevent sex trafficking on its properties. Defendant

                          Wyndham’s inattention in this regard enabled and contributed to the sex

                          trafficking the Plaintiff suffered at the Travelodge®, Knights Inn®, and

                          Howard Johnson® hotels.

                 b.       There are numerous examples across place and time of Defendant

                          Wyndham’s knowledge of sex trafficking on its branded properties and its

                          continued, total inattention to preventing and remedying the blight of

                          human trafficking on the lives and liberties of its victims.

                 c.       In 2011, Defendant Wyndham’s predecessor entity Wyndham Worldwide


42
  See Brown v. Corr. Corp. of Am., 603 F.Supp.2d 73, 81 (D.D.C. Mar. 26, 2009); Trollinger v. Tyson Foods, Inc.,
2007 WL 1574275, at *12 (.E.D. Tenn. May 29, 2007).

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                         Corporation, signed the Code, but as evidenced by the widespread sex

                         trafficking which continued to occur at Defendant Wyndham’s branded

                         properties, Defendant Wyndham did not practice what it preached.

                         Defendant Wyndham’s adoption of the Code appears to have been nothing

                         more than a strategic maneuver through which it sought a shield against

                         liability, but not a sword against human trafficking.

                d.       Despite Defendant        Wyndham’s anti-trafficking stance, Defendant

                         Wyndham failed to implement and enforce any of its own policy or policies

                         including with respect to the Travelodge®, Knights Inn®, and Howard

                         Johnson® hotels. Defendant Wyndham knew or should have known that

                         the Travelodge®, Knights Inn®, and Howard Johnson® were located in an

                         area known for sex trafficking activity, and sex trafficking and prostitution

                         continued to regularly occur on and around their branded hotel premises,

                         including when R.T. was trafficked.43 Despite having knowledge of the

                         extensive prostitution and sex trafficking that occurs at its branded hotels,

                         Defendant Wyndham failed to take adequate measures to prevent the

                         misconduct.

                e.       Defendant Wyndham owns, supervises, or operates the Travelodge®,

                         Knights Inn®, and Howard Johnson® hotels. Wyndham failed to

                         implement and enforce any of its own policy or policies and protect Plaintiff

                         R.T. from being sex trafficked.


43
  See e.g., NEWS CENTER (WCSH), Eight Men Arrested for Engaging Prostitute, NEWS CENTER MAINE (Dec.
14, 2016), https://www.newscentermaine.com/article/news/local/eight-men-arrested-for-engaging-prostitute/97-
369724536; Juliette Laaka, South Portland prostitution sting nets 8 johns, PORTLAND PRESS HERALD (Jan. 4,
2018), https://www.pressherald.com/2018/01/04/south-portland-prostitution-sting-nets-8-johns/.

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           f.    Defendant Wyndham had actual knowledge of sex trafficking occurring on

                 its branded hotel properties because Wyndham, Travelodge®, Knights

                 Inn®, and Howard Johnson® knew that sex trafficking and prostitution are

                 associated with a high risk of physical and sexual violence, substance abuse,

                 and other illegal dangerous conduct, and that the pimp-sex trafficking

                 victim/prostitute relationship involves the use of force, fraud, and coercion.

                 Wyndham, Travelodge®, Knights Inn®, and Howard Johnson® allowed,

                 authorized, permitted, induced, or encouraged the trafficking of individuals

                 for sex at the Travelodge®, Knights Inn®, and Howard Johnson®.

                 Wyndham, Travelodge®, Knights Inn®, and Howard Johnson® facilitated

                 the trafficking through its practices, policies, and procedures. Wyndham,

                 Travelodge®, Knights Inn®, and Howard Johnson® failed to take

                 appropriate action to prevent the trafficking of individuals for sex so that

                 Wyndham, Travelodge®, Knights Inn®, and Howard Johnson® could

                 continue to profit from the business that trafficking brings, including

                 business from out-of-state.

           g.    Defendant Wyndham had constructive knowledge of sex trafficking

                 occurring on its branded hotel properties because Wyndham, Travelodge®,

                 Knights Inn®, and Howard Johnson® knew that sex trafficking and

                 prostitution are associated with a high risk of physical and sexual violence,

                 substance abuse, and other illegal dangerous conduct, and that the pimp-sex

                 trafficking victim/prostitute relationship involves the use of force, fraud,

                 and coercion. Wyndham, Travelodge®, Knights Inn®, and Howard



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                       Johnson® allowed, authorized, permitted, induced, or encouraged the

                       trafficking of individuals for sex at the Travelodge®, Knights Inn®, and

                       Howard Johnson®. Wyndham, Travelodge®, Knights Inn®, and Howard

                       Johnson® facilitated the trafficking through its practices, policies, and

                       procedures. Wyndham, Travelodge®, Knights Inn®, and Howard

                       Johnson® failed to take appropriate action to prevent the trafficking of

                       individuals for sex so that Wyndham, Travelodge®, Knights Inn®, and

                       Howard Johnson® could continue to profit from the business that

                       trafficking brings, including business from out-of-state.

           h.          Wyndham knew or should have known that the Travelodge®, Knights

                       Inn®, and Howard Johnson® hotels where Plaintiff R.T. was trafficked

                       were located in an area known for high incidence of crime and prone to sex

                       trafficking activity on and around the hotel premises, including when

                       Plaintiff R.T. was trafficked.

           i.          Despite having knowledge of the extensive prostitution and sex trafficking

                       that occurs at its hotels, Defendant Wyndham has repeatedly failed to stop

                       these actions.

           j.          Defendant Wyndham exercised control over Travelodge®, Knights Inn®,

                       and Howard Johnson® hotels by:

                  i.          distributing information to assist employees in identifying human

                              trafficking.

                 ii.          providing a process for escalating human trafficking concerns within the

                              organization;

                iii.          requiring employees to attend training related to human trafficking;

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                iv.               providing new hire orientation on human rights and corporate

                                  responsibility;

                 v.               providing training and education to Travelodge®, Knights Inn®, and

                                  Howard Johnson® branded hotels through webinars, seminars,

                                  conferences, and online portals;

                vi.               developing and holding ongoing training sessions on human trafficking;

                                  or

                vii.              providing checklists, escalation protocols and information to property

                                  management staff; or tracking performance indicators and key metrics on

                                  human trafficking prevention.

           k.          Wyndham was in an agency relationship with Travelodge®, Knights Inn®, and

                       Howard Johnson® branded hotels offering public lodging services in the hotel.

                       This agency relationship was created through Defendant Wyndham’s exercise of

                       an ongoing and systemic right of control over Travelodge®, Knights Inn®, and

                       Howard Johnson® hotels by Defendant Wyndham’s operations, including the

                       means and methods of how Travelodge®, Knights Inn®, and Howard Johnson®

                       branded hotels conducted daily business through one or more of the following

                       actions:

                  i.              hosting online bookings on Defendant Wyndham’s domain;

                 ii.              requiring Travelodge®, Knights Inn®, and Howard Johnson® branded

                                  hotels to use Defendant Wyndham’s customer rewards program;

                iii.              setting employee wages;

                iv.               making employment decisions;

                 v.               advertising for employment;

                vi.               sharing profits;

                vii.              standardized training methods for employees;

                                                     25
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                viii.           building and maintaining the facility in a manner specified by the owner;

                 ix.            standardized or strict rules of operation;

                  x.            regular inspection of the facility and operation by owner;

                 xi.            fixing prices; or other actions that deprive Travelodge®, Knights Inn®,

                                and Howard Johnson® branded hotels of independence in business

                                operations.

           l.           An apparent agency also exists between Defendant Wyndham, Travelodge®,

                        Knights Inn®, and Howard Johnson® hotels. Defendant Wyndham held out

                        Travelodge®, Knights Inn®, and Howard Johnson® branded hotels to the public

                        as possessing authority to act on its behalf.

           m.           Given Defendant Wyndham’s public statements on behalf of its hotel brands and

                        the control it assumed in educating, implementing, and directing its branded

                        hotels, including Travelodge®, Knights Inn®, and Howard Johnson® branded

                        hotels, Defendant Wyndham breached its duties in the following ways:

                   i.           did not adequately distribute information to assist employees in

                                identifying human trafficking;

                  ii.           failed to provide a process for escalating human trafficking

                                concerns within the organization;

                 iii.           failed to mandate managers, employees, or owners attend training

                                related to human trafficking;

                 iv.            failed to provide new hire orientation on human rights and

                                corporate responsibility;

                  v.            failed to provide training and education on human trafficking

                                through webinars, seminars, conferences, and online portals;

                 vi.            failed to develop and hold or require ongoing training sessions on

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                                    human trafficking; or

                      vii.          failed to provide checklists, escalation protocols and information

                                    to property management staff or tracking performance indicators

                                    and key metrics on human trafficking prevention.

                 n.          For years, Defendant Wyndham has demonstrated actual and/or

                             constructive knowledge of the rampant culture of sex trafficking which

                             tragically occurs on its Travelodge®, Knights Inn®, and Howard

                             Johnson® branded properties throughout the country. This same

                             entrenched, pervasive actual and/or constructive knowledge of sex

                             trafficking facilitated the sex trafficking of Plaintiff R.T. at Travelodge®,

                             Knights Inn®, and Howard Johnson® hotels that forms the basis of this

                             complaint.

                        i.          In March 2006, a man was convicted of sex trafficking of a minor

                                    under the Trafficking Victims Protection Act after he drove two

                                    underage girls and a veteran prostitute to a Travelodge and had

                                    sexual intercourse with the three of them before coercing them into

                                    prostitution.44

                       ii.          In May 2006, police arrested two people for running a prostitution

                                    service out of a local Howard Johnson hotel.45

                      iii.          In March 2008, three Howard Johnson Express Inn clerks were




44
   Debbi Wilgoren, Area Juvenile Sex Rings Targeted Using Anti-Trafficking Laws, THE WASHINGTON POST
(Mar. 6, 2006), https://www.washingtonpost.com/archive/politics/2006/03/06/area-juvenile-sex-rings-targeted-
using-anti-trafficking-laws/04967094-a1cf-4fad-9901-79957e705cec/.
45
   Police: Hooker working out of Fort Myers HoJo, NBC2 NEWS (May 24, 2006), https://www.nbc-
2.com/story/10680860/police-hooker-working-out-of-fort-myers-hojo.

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                                  arrested for running a brothel, catering to pimps and prostitutes,

                                  some of whom were underage and runaways. 46

                       iv.        In January 2009, police found a child prostitute advertised on

                                  craigslist who made a date to meet a john at the Knights Inn in

                                  Ontario, California.47

                       v.         In March 2010, a high-profile personal injury lawyer was arrested

                                  by Petersburg Police at a Travelodge motel on charges of soliciting

                                  a prostitute.48

                       vi.        In June 2010, the Maryland Human Trafficking Task Force

                                  removed several women and children from hotels in Laurel,

                                  including the Knights Inn, in an effort to curb sex trafficking in the

                                  area.49

                      vii.         In February of 2013, San Diego’s Attorney's ordered the Howard

                                  Johnson Hotel in San Diego, California to make immediate

                                  changes in security to crack down on prostitution. Over the course

                                  of the investigation lasting from 2011 to 2013, more than 20

                                  prostitution-related arrests were made, including arrests for

                                  pimping and human trafficking. 50


46
   Donald Bertrand, Clerks, wanna-be pimp charged in undercover sting at shuttered hotel, DAILY NEWS (Mar.
12, 2008), https://www.nydailynews.com/new-york/queens/clerks-wanna-be-pimp-charged-undercover-sting-
shuttered-hotel-article-1.290657.
47
   Redland Daily Facts, Child prostitution thrives on Ontario’s Holt Boulevard, REDLANDS DAILY FACTS (Jan.
12, 2009), https://www.redlandsdailyfacts.com/2009/01/12/child-prostitution-thrives-on-ontarios-holt-boulevard/.
48
      Top Lawyer Arrested for Soliciting Prostitute, STYLE WEEKLY (Apr. 28, 2010),
https://www.styleweekly.com/richmond/top-lawyer-arrested-for-soliciting-prostitute/Content?oid=1383889.
49
   Andrea F. Sigel, Second human-trafficking arrest made in Laurel in a week, THE BALTIMORE SUN (Jun. 11,
2010), https://www.baltimoresun.com/maryland/anne-arundel/bs-xpm-2010-06-11-bs-md-ar-second-trafficking-
arrest-20100611-story.html.
50
   Bob Ponting, City cracks down on prostitution at Mission Valley hotel, FOX 5 (Feb. 28, 2013),

                                                      28
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                     viii.       In November of 2013, a pimp was arrested at a Knights Inn in

                                 Allentown, Pennsylvania for harboring a woman for the purpose of

                                 soliciting sex and taking the profits from those interactions.51

                      ix.        In February of 2014, a Travelodge hotel in San Diego was ordered

                                 by the San Diego City Attorney’s office to make changes to crack

                                 down on prostitution activity after several undercover operations

                                 found numerous women advertising themselves for sex on

                                 websites and directing their customers to the Mission Valley

                                 Travelodge.52

                       x.        In May 2014, a man was arrested after bringing a 20-year-old

                                 Portland woman to the Travelodge in Portland and forcing her to

                                 prostitute herself in Boston.53

                      xi.         In June of 2014, a woman was arrested in a sting operation at the

                                 Knights Inn in Horseheads, New York for prostitution. Managers

                                 at the hotel said they often solicit rooms to police officers running

                                 prostitution raids in the area.

                     xii.         In March of 2015, a woman was arrested for engaging in

                                 prostitution out of a Howard Johnson hotel. Police noted that hotels




https://fox5sandiego.com/2013/02/28/city-cracks-down-on-prostitution-at-mission-valley-hotel/
51
   Kurt Bresswein, Pimp arrested at Lehigh County hotel in prostitution probe, police say,
LEHIGHVALLEYLIVE.com (Nov. 8, 2013), https://www.lehighvalleylive.com/lehigh-
county/2013/11/pimp_arrested_at_lehigh_county.html
52
   Monica Garske, Another Mission Valley Hotel Ordered to Curb Prostitution Activity, NBC SAN DIEGO, (Feb. 4,
2014), https://www.nbcsandiego.com/news/local/mission-valley-travelodge-hotel-prostitution-crackdown/87366/
53
   Nancy Torresen, Man accused of trying to force Portland woman into prostitution tells judge he doesn’t
understand change-of-plea hearing, BANGOR DAILY NEWS (May 5, 2014),
https://bangordailynews.com/2014/05/05/news/portland/man-accused-of-trying-to-force-portland-woman-into-
prostitution-tells-judge-he-doesnt-understand-change-of-plea-hearing/.

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                                 were hotspots for prostitution and drug activity and continued to

                                 investigate prostitution at the Howard Johnson54.

                     xiii.       In February 2016, the Cuyahoga County Sheriff’s Office and the

                                 Brook Park Police Department raided a Travelodge hotel for its

                                 reputation for human trafficking and illegal activity. 55

                     xiv.        In May of 2017, a man was charged with human trafficking after

                                 he was arrested at the Knights Inn in Tonawanda, New York. The

                                 woman found in the room with him was arrested for prostitution.56

                      xv.        In August of 2017, a woman, already under indictment for running

                                 a series of brothels through Boston, was arrested for trafficking

                                 women in a Howard Johnson Hotel in Quincy, Massachusetts.57

                     xvi.        Additionally, Defendant Wyndham has been aware of sex

                                 trafficking on Travelodge®, Knights Inn®, and Howard Johnson®

                                 brand properties through publicly available websites such as

                                 www.tripadvisor.com. Online reviews show the pervasiveness of

                                 customer reported sex trafficking on Travelodge®, Knights Inn®,

                                 and    Howard     Johnson®      brand    properties and       Defendant

                                 Wyndham’s inattentiveness, for example:


54
   Penny Ray, Woman arrested for prostitution out of Lawrence hotel, THE TRENTONIAN (Mar. 4, 2015),
https://www.trentonian.com/news/woman-arrested-for-prostitution-out-of-lawrence-hotel/article_a284ba0c-bd15-
56c8-8802-955f744a9adc.html.
55
   Jen Steer, Authorities raid Brook Park hotel in heroin, human trafficking investigation, FOX 8 CLEVELAND
(Feb. 10, 2016), https://fox8.com/2016/02/10/authorities-raid-brook-park-hotel-in-heroin-human-trafficking-
investigation/.
56
   Aaron Besecker, Sex trafficking sting nabs 4 in Town of Tonawanda motels, THE BUFFALO NEWS (May 23,
2017), https://buffalonews.com/2017/05/23/sex-trafficking-sting-nabs-4-town-tonawanda-motels/
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   Neal Simpson, Alleged Quincy brothel owner arrested again for sex trafficking, THE PATRIOT LEDGER, (Aug.
8, 2017), https://www.patriotledger.com/news/20170808/alleged-quincy-brothel-owner-arrested-again-for-sex-
trafficking.

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                                  •        In October of 2011, a reviewer described the Knights Inn in

                                           Indianapolis, Indiana as follows: “While being forced to stay

                                           at this sorry excuse for a motel, our room door was

                                           repeatedly beat on by prostitutes. Not a prostitute, several

                                           prostitutes. When I called the front desk to complain, the

                                           response from the night desk clerk was "Yeah, they'll do

                                           that". After calling the police and having them come out to

                                           search for prostitutes that disappeared into the night, we

                                           managed to shake the bugs out of the sheets long enough to

                                           get a couple hour nap. When we got up to leave early, not

                                           one, but two of the girls who knocked on our door soliciting

                                           were leaving the property with the desk clerk!”58

                                  •        In May of 2014, a reviewer titled his review of the Howard

                                           Johnson by Wyndham in Niagara Falls, Ontario as follows:

                                           “More prostitutes than guests,” and explained further: “We

                                           noticed several burns in our blankets and sheets and I can’t

                                           be sure but I think there was semen stains all over the carpet

                                           near my side of the bed.”59

        62.      G6 HOSPITALITY, LLC (“G6”):

                 a.      Defendant G6 owns, supervises, or operates the Motel 6® located at 1




58
   Review of Knights Inn Indianapolis (Oct. 6, 2011), available at https://www.tripadvisor.com/ShowUserReviews-
g37209-d217026-r119019961-Knights_Inn_Indianapolis-Indianapolis_Indiana.html.
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   Review of Howard Johnson by Wyndham Niagara Falls (May 5, 2014), available at
https://www.tripadvisor.com/ShowUserReviews-g154998-d188178-r204212887-
Howard_Johnson_by_Wyndham_Niagara_Falls-Niagara_Falls_Ontario.html.

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                 Riverside Street Portland, Maine 04103. G6 failed to implement and

                 enforce any of its own policy or policies and protect Plaintiff R.T. from

                 being sex trafficked.

           b.    Defendant G6 had actual knowledge of sex trafficking occurring on its

                 branded hotel properties because G6 and Motel 6® knew that sex

                 trafficking and prostitution are associated with a high risk of physical and

                 sexual violence, substance abuse, and other illegal dangerous conduct, and

                 that the pimp-sex trafficking victim/prostitute relationship involves the

                 use of force, fraud, and coercion. G6 and Motel 6® allowed, authorized,

                 permitted, induced, or encouraged the trafficking of individuals for sex at

                 the Motel 6®. G6 and Motel 6® facilitated the trafficking through its

                 practices, policies, and procedures. G6 and Motel 6® failed to take

                 appropriate action to prevent the trafficking of individuals for sex so that

                 G6 and Motel 6® could continue to profit from the business that

                 trafficking brings, including business from out-of-state.

           c.    Defendant G6 had constructive knowledge of sex trafficking occurring on

                 its branded hotel properties because G6 and Motel 6® knew that sex

                 trafficking and prostitution are associated with a high risk of physical and

                 sexual violence, substance abuse, and other illegal dangerous conduct, and

                 that the pimp-sex trafficking victim/prostitute relationship involves the

                 use of force, fraud, and coercion. G6 and Motel 6® allowed, authorized,

                 permitted, induced, or encouraged the trafficking of individuals for sex at

                 the Motel 6®. G6 and Motel 6® facilitated the trafficking through its



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                       practices, policies, and procedures. G6 and Motel 6® failed to take

                       appropriate action to prevent the trafficking of individuals for sex so that

                       G6 and Motel 6® could continue to profit from the business that

                       trafficking brings, including business from out-of-state.

           d.          G6 knew or should have known that the Motel 6® hotel where Plaintiff

                       R.T. was trafficked was an area known for high incidence of crime and

                       prone to sex trafficking activity on and around the hotel premises,

                       including when Plaintiff R.T. was trafficked.

           e.          Despite having knowledge of the extensive prostitution and sex trafficking

                       that occurs at its hotels, Defendant G6 has repeatedly failed to stop these

                       actions.

           f.          Defendant G6 exercised control over Motel 6® hotels by:

                  i.          distributing information to assist employees in identifying human

                              trafficking;

                 ii.          providing a process for escalating human trafficking concerns

                              within the organization;

                iii.          requiring employees to attend training related to human trafficking;

                iv.           providing new hire orientation on human rights and corporate

                              responsibility;

                 v.           providing training and education to Motel 6® branded hotels

                              through webinars, seminars, conferences, and online portals;

                vi.           developing and holding ongoing training sessions on human

                              trafficking; or



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                vii.           providing checklists, escalation protocols and information to

                               property management staff; or tracking performance indicators

                               and key metrics on human trafficking prevention.

           g.           G6 was in an agency relationship with Motel 6® branded hotels offering

                        public lodging services in the hotel. This agency relationship was created

                        through Defendant G6’s exercise of an ongoing and systemic right of

                        control over Motel 6® hotels by Defendant G6’s operations, including the

                        means and methods of how Motel 6® branded hotels conducted daily

                        business through one or more of the following actions:

                   i.          hosting online bookings on Defendant G6’s domain;

                  ii.          requiring Motel 6® branded hotels to use Defendant G6’s

                               customer rewards program;

                 iii.          setting employee wages;

                 iv.           making employment decisions;

                  v.           advertising for employment;

                 vi.           sharing profits;

                vii.           standardized training methods for employees;

                viii.          building and maintaining the facility in a manner specified by the

                               owner;

                 ix.           standardized or strict rules of operation;

                  x.           regular inspection of the facility and operation by owner;

                 xi.           fixing prices; or

                xii.           other actions that deprive Motel 6® branded hotels of



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                               independence in business operations.

           h.          An apparent agency also exists between Defendant G6 and Motel 6® hotels.

                       Defendant G6 held out Motel 6® branded hotels to the public as possessing

                       authority to act on its behalf.

           i.          Given Defendant G6’s public statements on behalf of its hotel brands and

                       the control it assumed in educating, implementing, and directing its branded

                       hotels, including Motel 6® branded hotels, Defendant G6 breached its

                       duties in the following ways:

                  i.           did not adequately distribute information to assist employees in

                               identifying human trafficking;

                 ii.           failed to provide a process for escalating human trafficking

                               concerns within the organization;

                iii.           failed to mandate managers, employees, or owners attend training

                               related to human trafficking;

                iv.            failed to provide new hire orientation on human rights and

                               corporate responsibility;

                 v.            failed to provide training and education on human trafficking

                               through webinars, seminars, conferences, and online portals;

                vi.            failed to develop and hold or require ongoing training sessions on

                               human trafficking; or

                vii.           failed to provide checklists, escalation protocols and information

                               to property management staff or tracking performance indicators

                               and key metrics on human trafficking prevention.



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                  j.          There are countless examples across place and time of Defendant G6’s

                              knowledge on its Motel 6® branded properties and its continued, total

                              inattention to preventing and remedying the blight of human trafficking on

                              the lives and liberties of its victims. The illicit, criminal misconduct is so

                              rampant on Motel 6® branded properties that one online reviewer

                              suggested on a travel website that Motel 6® “Should be called Motel

                              Sex.”60

                  k.          For years, Defendant G6 has demonstrated actual and/or constructive

                              knowledge of the rampant culture of sex trafficking which tragically

                              occurs on its Motel 6® branded properties throughout the country. This

                              same entrenched, pervasive actual and/or constructive knowledge of sex

                              trafficking facilitated the sex trafficking of Plaintiff R.T. at Motel 6®

                              hotels that forms the basis of this complaint.

                         i.             In late 2003, a trafficker set up a sex trafficking venture at a Motel

                                        6 in Connecticut in which two (2) young women were sold for sex

                                        eight (8) to ten (10) times per day.61

                        ii.             In April 2009, a sex trafficking venture operated out of a Motel

                                        6 in Toledo, Ohio.62



60
   Review Of Motel 6 Rochester (Aug. 1, 2018), available at https://www.tripadvisor.com/ShowUserReviews-
g43466-d242739-r601808847-Motel_6_Rochester-Rochester_Minnesota.html (last visited Feb. 28, 2019) (the
reviewer was commenting in August 2018, on a Motel 6 located at 2107 West Frontage Road, Rochester, Minnesota
55901 and added, “Prostitutes, drug dealers, and loud partiers are your neighbors including possibly one or two staff
members. Complaints to the clerk do no good. The night clerk does not write it down and the day clerks accuse you
of lying although I made it clear that I did not want anything in return for my complaints.”).
61
   Amy Fine Collins, Sex Trafficking Of Americans: The Girls Next Door, Vanity Fair (May 2011),
https://www.vanityfair.com/news/2011/05/human-trafficking-201105.
62
   Five Toledoans Indicted On Sex Trafficking Charges, ABC7Chicago.com (Nov. 7, 2010),
https://abc7chicago.com/archive/7771888/.

                                                          36
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                       iii.        In approximately September 2011, sex traffickers set up an

                                   operation at a Motel 6 in Toledo, Ohio to sell fifteen (15) and

                                   sixteen (16) year old girls for sex. 63

                        iv.        From approximately 2012 through October 2014, two (2) men

                                   engaged in a criminal sex trafficking venture of children which

                                   operated in part out of a Motel 6 in Harvey, Illinois.64

                        v.         Police rescued an eighteen (18) year old girl from a sex trafficker

                                   in February 2012, at a Motel 6 in Portland, Oregon.65

                        vi.        The FBI investigated and arrested several individuals in December

                                   2012, for the victimization and human trafficking of several young

                                   women and a juvenile at a Motel 6 in Madison, Alabama. 66

                       vii.         The Orange County Human Trafficking Task Force busted a

                                   criminal enterprise in December 2012 that was selling women for

                                   sex out of a Motel 6 in Anaheim, California.67

                      viii.        In approximately March 2013, sex traffickers began operating a

                                   sex trafficking venture out of Motel 6 locations in Bangor and

                                   Portland, Maine.68



63
   Mark Reiter, Two Toledoans Accused Of Juvenile Sex Trafficking, The Blade (Jun. 1, 2010),
https://www.toledoblade.com/Courts/2012/06/02/2-Toledoans-accused-of-juvenile-sex-trafficking-1.html.
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     Complaint, United States of America v. Samuel Nichols, et al., No. 1:15-cr-00756 (N.D. Ill. Dec. 29, 2015); see
  also Press Release, U.S. Dep’t of Justice, Two Aspiring Rappers Charged With Operating Sex-Trafficking Ring
  In Chicago And Suburbs (Jan. 15, 2016), https://www.justice.gov/usao-ndil/file/813771/download.
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   Press Release, U.S. Dep’t of Justice, Tacoma Pimp Sentenced To 25 Years For Sex-Trafficking Two Victims (Nov.
20, 2013), https://www.justice.gov/usao-or/pr/tacoma-pimp-sentenced-25-years-sex-trafficking-two-victims.
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   FBI Investigates Human Trafficking At Madison Hotel, WHNT News 19 (Dec. 7, 2012),
https://whnt.com/2012/12/07/fbi-investigates-human-trafficking-at-madison-motel/.
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   Suspects Busted In Anaheim Sex Ring, ABC13 Eyewitness News (Dec. 5, 2012),
https://abc13.com/archive/8909784/.
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   Danielle McLean, What Drives Maine Sex Traffickers’ Inhumanity, Bangor Daily News Maine Focus (Sept. 12,
2016), https://bangordailynews.com/2016/09/12/mainefocus/what-drives-maine-sex-traffickers-inhumanity/.

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                      ix.        Beginning in approximately May 2013, a fifteen (15) year old

                                 runaway was trafficked for sex out of the Motel 6 on Caton

                                 Avenue in Baltimore, Maryland.69

                       x.        The FBI busted a sex trafficking ring operating out of a Motel 6 in

                                 San Antonio, Texas in September 2013.70

                      xi.        In Richmond County, Georgia a man was arrested at a local Motel

                                 6 in October 2013, and charged with sex trafficking of two young

                                 women.71

                     xii.         Police investigated a sex trafficker in March 2014 and ultimately

                                 charged him for his crimes including, but not limited to, selling a

                                 seventeen (17) year old girl for sex out of a Motel 6 in Roseville,

                                 Minnesota.72

                     xiii.        In May 2014, two (2) traffickers were arrested at a Motel 6 in

                                 Monterey, California after a twenty-one (21) year old woman

                                 escaped from their captivity. 73

                     xiv.         In the summer of 2014, two (2) girls ages fifteen (15) and sixteen

                                 (16) were taken from a children’s shelter by a sex trafficker and




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   Anne Kramer, Man Faces Prison Time For Sex Trafficking Baltimore Teen, WBAL News Radio (Apr. 10, 2014),
https://www.wbal.com/article/106578/2/man-faces-prison-time-for-sex-trafficking-baltimore-teen.
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   Stephanie Serna, Sex Trafficking Ring Busted At Motel 6 (Sept. 17, 2013), https://www.ksat.com/news/sex-
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   UPDATE: Man Arrested For Sex Trafficking, WRDW.com On Your Side, (Oct. 3, 2013),
https://www.wrdw.com/home/headlines/Man-arrested-for-sex-trafficking-226301261.html.
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   Man, 25, Is Accused Of Trafficking Teens, Twin Cities Pioneer Press (Jun. 5, 2014),
https://www.twincities.com/2014/06/05/man-25-is-accused-of-trafficking-teens-2/.
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   Felix Cortez and Amy Larson, Monterey Police: 2 Human Sex Traffickers Arrested After Victim Escapes Motel,
KSBW8 (May 9, 2014), https://www.ksbw.com/article/monterey-police-2-human-sex-traffickers-arrested-
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                                  trafficked out of a Motel 6 in Cutler Bay, Florida.74

                      xv.         A Las Vegas man was charged with sex trafficking two (2)

                                  victims, including a seventeen (17) year old girl, in January 2015,

                                  out of a Motel 6 in Rapid City, Nevada.75

                     xvi.          In February 2015, two (2) men were arrested for sex trafficking a

                                  fourteen (14) year old girl at a Motel 6 in Seekonk, Rhode Island.76

                     xvii.        A local law enforcement investigation resulted in the rescue of a

                                  fifteen (15) year old runaway in February 2015, from a Motel 6

                                  near the Oakland, California airport where she was being sex

                                  trafficked.77

                    xviii.        In North Charleston, South Carolina, a seventeen (17) year old girl

                                  was rescued in March 2015 from a Motel 6 by special agents from

                                  the United States Department of Homeland Security. The girl was

                                  sold for sex, beaten, and starved by a sex trafficker.78

                     xix.         Two men were arrested in March 2015 for sex trafficking a fifteen

                                  (15) year old girl at Motel 6 in Austin, Texas.79



74
   David Goodhue, Next Stop For Man Accused Of Sex Trafficking 2 Teens: Federal Court, Miami Herald (Sept.
2, 2015), https://www.miamiherald.com/news/local/news-columns-blogs/deadline-miami/article33360843.html.
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   Las Vegas Man Charged With Human Trafficking In Rapid City, Argus Leader (Jan. 17, 2015),
https://www.argusleader.com/story/news/crime/2015/01/17/las-vegas-man-charged-human-trafficking-rapid-
city/21922915/.
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   Stephen Peterson, RI Man Gets Jail In Sex-Trafficking Case Involving Seekonk Motel (Oct. 28, 2016),
http://www.thesunchronicle.com/news/local_news/ri-man-gets-jail-in-sex-trafficking-case-involving-
seekonk/article_d7a25494-9d21-11e6-8f94-63e5c74facb3.html.
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   Emilie Raguso, Woman Charged In Berkeley Teen Sex Trafficking Case (Dec. 8, 2015),
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   Melissa Boughton, Police Say Teen Starved, Beaten At North Charleston Hotel; Man Arrested In Sex-Trafficking
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charleston- motel-man/article_032153ee-fcb6-5333-9182-926a7f43dfbf.html.
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   Lindsay Bramson, Local Teen Saved From Sex Slavery; Two Charged, KXAN Austin (Mar. 6, 2015),
https://www.kxan.com/news/local/austin/local-teen-freed-from-sex-slavery-two-charged/1049580764.

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                      xx.         In March 2015, police arrested a man for sex trafficking a runaway

                                  seventeen (17) year old at a Motel 6 in Warwick, Rhode Island. 80

                     xxi.         Over a fourteen (14) month period ending in approximately April

                                  2015, at the same Motel 6 in Warwick, Rhode Island had seventy-

                                  five (75) arrests on its property for crimes including sex-

                                  trafficking.81

                     xxii.        Seven (7) people were indicted in January 2016, by a Colorado

                                  grand jury for sex trafficking children from 2014 through the

                                  summer of 2015, out of hotels in Denver, Colorado, including a

                                  Denver area Motel 6.82

                    xxiii.        In the summer of 2015, a woman was arrested at a Motel 6 in Great

                                  Falls, Montana where she was involved in sex trafficking a

                                  seventeen (17) year old girl. 83

                    xxiv.         A married couple was indicted in June 2015, for their roles in sex

                                  trafficking minor children ages seventeen (17), sixteen (16), and

                                  fifteen (15) years old out of a Motel 6 in Everett, Washington.84

                     xxv.         In b Tuscaloosa, Alabama police rescued a fourteen (14) year old




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   Amanda Milkovits, Massachusetts Man Accused Of Trafficking Teen In Warwick Motel, NewportRI.com (Mar.
24, 2015), https://www.newportri.com/article/20150324/NEWS/150329666.
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   Sarah Kaplan, Crime-Ridden Motel 6 In R.I. Will Hand Over Guest List To Police, The Washington Post (Apr. 28,
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   Hsing Tseng, Seven Indicted By Colorado Grand Jury In Child Sex Trafficking Ring Bust, Fox 31 Denver (Jan. 6,
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   Andrea Fisher, Woman Caught Up In Human Trafficking Ring Pleads Guilty (Aug. 29, 2016),
https://www.greatfallstribune.com/story/news/local/2016/08/29/woman-caught-human-trafficking-ring-pleads-
guilty/89566374/.
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   Diana Hefley, County Investigating 45 Ongoing Human Sex Trafficking Cases, HeraldNet (Jun. 26, 2015),
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                                 girl from a Motel 6 in June 2015, and a grand jury subsequently

                                 charged her assailant with human trafficking and rape.85

                   xxvi.         In approximately July 2015, sex traffickers sold a fifteen (15) year

                                 old girl for sex at a Motel 6 in Pismo Beach, California.86

                   xxvii.        In November 2015 a man was arrested at a Motel 6 in Ventura,

                                 California and was criminally charged with sex trafficking a

                                 fifteen (15) year old girl who was found with him.87

                  xxviii.        In January 2016, a man who operated a criminal venture out of a

                                 Motel 6 in Frederick City, Maryland was charged with sex

                                 trafficking.88

                   xxix.         Criminal charges were brought against a man who sex trafficked

                                 a fifteen (15) year old girl out of a Motel 6 in Beaumont, Texas in

                                 March 2016.89

                    xxx.         On March 23, 2016, a victim of a sex trafficking ring died at a

                                 Motel 6 in Winchester, West Virginia. 90

                   xxxi.         The leader of a sophisticated and organized sex trafficking ring

                                 beat and raped one of his victims in April 2016, at a Motel 6 in


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   Tuscaloosa Man Charged With Rape And Trafficking Mississippi Teen, NewsMississippi (Nov. 7, 2014),
https://newsms.fm/tuscaloosa-man-charged-human-trafficking-mississippi-teen/.
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   Matt Fountain, Four Accused Of Pimping Out 15-Year-Old Girl In SLO Will Will Stand Trial,
SanLuisObispo.com (May 5, 2016), https://www.sanluisobispo.com/news/local/article75832962.html.
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   Fresno Man Sentenced To Prison For Pimping, Human Trafficking In Ventura County, Ventura County Star
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sentenced- to-prison-for-pimping-human-trafficking-in-ventura-county/88714698/.
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   Frederick Police Arrest Man On Human Trafficking Charges, CBS13 Baltimore (Jan. 16, 2016),
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   Ellie Williams, Martinsburg Man Convicted On Sex Trafficking And Drug Charges, LocalDVM.com (Jan. 17,
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                                  Tinicum Township, Pennsylvania.91

                   xxxii.         A federal court sentenced a man to ten (10) years in prison in

                                  November 2016, for sex trafficking a fifteen (15) year old girl in

                                  2014 out of a Motel 6 in Hartford County, Connecticut.92

                   xxxiii.        Local law enforcement rescued a seventeen (17) year old runaway

                                  in December 2016, who was being sex trafficked from a Motel 6

                                  in Gibbstown, New Jersey. 93

                   xxxiv.         In February 2017, the leader of a child sex trafficking ring in

                                  Tulsa, Oklahoma, was busted at a local Motel 6 where federal

                                  authorities rescued a sixteen (16) year old survivor of sex

                                  trafficking.

                    xxxv.         A forty-five (45) year old man was charged with human trafficking

                                  after picking up a teenage boy from school and taking him to a

                                  Motel 6 in Cedar Park, Texas in approximately March 2017.94

                   xxxvi.         At a Motel 6 in Des Moines, Iowa a man sex trafficked a minor

                                  victim in June 2017.95

                  xxxvii.         In approximately June 2017, a seventeen (17) year old runaway




91
   Justin Heinze, Man Behind Human Trafficking Ring In Chester County Sentenced, Patch (Sept. 26, 2017),
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     David Owens, Hartford Man Sentenced To Prison For Sex Trafficking Of 15-Year-Old Girl, Hartford Courant
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   Luke Nozicka, Seven Des Moines Residents Charged With Sex Trafficking, Feds Say, The Des Moines Register
(Jun. 11, 2018), https://www.desmoinesregister.com/story/news/crime-and-courts/2018/06/11/7-des-
moines- residents-charged-sex-trafficking-feds-des-moines-sexual-prostitution-iowa-texas/692264002/.

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                                 was rescued by law enforcement from a Motel 6 in Las Vegas,

                                 Nevada out of which a sex trafficker was operating.96

                 xxxviii.        A seventeen (17) year old girl was sold for sex by traffickers at a

                                 Motel 6 in Portland, Oregon in June 2017.97

                  xxxix.         In August 2017, two (2) men operated out of a Motel 6 in

                                 Springfield, Virginia to sex traffic a sixteen (16) year old girl.98

                      xl.        The City of Los Angeles settled a nuisance suit with G6

                                 Hospitality, which operates Motel 6 hotels, in August 2017, for

                                 $250,000.00 in an effort to combat human trafficking at Motel 6

                                 brand hotels.99

                      xli.       In October 2017, the County Attorney’s Office for Harris County,

                                 Texas sued a local Motel 6 after law enforcement identified the

                                 property as a criminal hotspot that had been attracting drug

                                 activity, human trafficking, and violent crime for years. The suit

                                 alleged the Motel 6 knowingly tolerated and failed to make

                                 reasonable efforts to abate the criminal activities on its property.100

                     xlii.       Two (2) men were arrested in December 2017, for sex trafficking




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   Rachel Crosby, Woman Accused Of Sex Trafficking Runaway On Las Vegas Strip, Las Vegas Review-Journal
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on- las-vegas-strip/.
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   Nick Morgan, Accused Human Traffickers Stopped In Medford, Mail Tribune (Jul. 7, 2017),
http://mailtribune.com/news/crime-courts-emergencies/accused-human-traffickers-stopped-in-medford.
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   Emily Leayman, 16-Year-Old Forced To Be Prostitute At Springfield Motel: Report, Patch (Feb. 6, 2018),
https://patch.com/virginia/burke/16-year-old-forced-be-prostitute-springfield-motel-report.
99
   Michael Balsamo, Motel 6 To Pay To Settle Human Trafficking Case, APNews.com (Aug. 31, 2017),
https://apnews.com/d13636fec55c42b88a08af18db6196fb.
100
    Mayra Cruz, Harris County Sues Spring Area Motel Labeled Hot Spot For Crime, Chron.com (Oct. 20, 2017),
https://www.chron.com/neighborhood/spring/news/article/Harris-County-sues-Spring-area-motel-labeled-
12293254.php.

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                                 a minor female out of a Motel 6 in Destin, Florida.

                    xliii.       In February 2018, a man engaged in sex trafficking of two (2)

                                 women at a Motel 6 near New Orleans, Louisiana. 101

                    xliv.        The Columbus City Attorney’s Office issued ultimatums in

                                 February 2018, to several area hotels to clean up or shut down,

                                 including but not limited to, the Motel 6 at 7480 North High Street

                                 which, according to police, had been the site of significant

                                 criminal activity and is nearby the Motel 6 Columbus.102

                     xlv.         Law enforcement responded to a 911 call from a seventeen (17)

                                 year old girl who was calling from the lobby of a Motel 6 in

                                 Claremont, California in February 2018. Upon arrival, officers

                                 discovered that the seventeen (17) year old caller and a fifteen (15)

                                 year old girl were both being sex trafficked at the hotel.103

                    xlvi.        In March 2018, police found a ten (10) year old girl wearing a dog

                                 collar with a twenty-three (23) year old man who had raped her at

                                 a Motel 6 in Lakeland, Florida.104

                    xlvii.       In Richfield, Minnesota a man was criminally charged in June

                                 2018, for sex trafficking a fifteen (15) year old girl out of an area



101
    Emily Lane, Man Accused Of Trafficking Took Females To New Orleans To ‘Make Some Money For Mardi
Gras’, Nola.com (Oct. 18, 2018), https://www.nola.com/crime/2018/10/man-accused-of-trafficking-took-
females- to-new-orleans-to-make-some-money-for-mardi-gras-warrant.html.
102
    Maureen Kocot, Columbus Cracks Down On Businesses With High Crime Rates, 10 WBNS (Feb. 7, 2018),
https://www.10tv.com/article/columbus-cracks-down-businesses-high-crime-rates.
103
    Serena Fangary, Social Media, Sexual Assault, And Sex Trafficking, Webb Canyon Chronicle (May 23, 2018),
https://webbcanyonchronicle.com/2953/features/social-media-sexual-assault/.
104
    David Neal, Florida Man, Burger King Manager Met His Online Girlfriend For A Hotel Sex Date, Cops Say.
She’s 10., Miami Herald (Mar. 29, 2018), https://www.miamiherald.com/news/local/community/miami-dade/west-
miami-dade/article207303799.html.

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                                  Motel 6.105

                   xlviii.        Police busted a human trafficking operation at a Motel 6 in Ann-

                                  Arbor, Michigan in July 2018.106

                     xlix.        A Motel 6 in Braintree, Massachusetts surrendered its operating

                                  license in September 2018, after significant criminal activity,

                                  including sex trafficking, was documented occurring on its

                                  property.107

                         l.       Not until September 2018, did Defendant G6 announce that “the

                                  company will introduce anti-human trafficking training to

                                  corporate, field and property team members...Additionally, the

                                  company developed its own training for all property team

                                  members to understand how to effectively intervene and identify

                                  potential trafficking situations to protect each other, guests and the

                                  community.” Even after this announcement, sex trafficking at

                                  Motel 6 properties continued.

                        li.       In November 2018, federal authorities arrested a man for sex

                                  trafficking a woman out of a Motel 6 in San Jose, California.108

                       lii.       In December 2018, a husband and wife were arrested for sex

                                  trafficking women who were Chinese nationals out of a Motel 6 in


105
    Man Charged With Sex Trafficking, Prostitution Of 15-Year-Old At Richfield Motel, 5 ABC Eyewitness News
(Jun. 19, 2018), https://kstp.com/news/man-charged-sex-trafficking-richfield-hotel/4955796/.
106
    Darcie Moran, Man Charged With Human Trafficking At Ann Arbor-Area Hotel, MLive.com (Dec. 7, 2018),
https://www.mlive.com/news/ann-arbor/2018/12/man-charged-with-human-trafficking-at-ann-arbor-area-hotel.html.
107
    Daniel Libon, Motel 6 Ends Fight To Reopen Braintree Location, Patch (Sept. 19, 2018),
https://patch.com/massachusetts/braintree/motel-6-ends-fight-reopen-braintree-location.
108
    Alleged Pimp Arrested in San Jose for Sex-Trafficking Young Woman He Found on Instagram, San Jose Inside
(Nov. 9, 2018), https://www.sanjoseinside.com/2018/11/09/alleged-pimp-arrested-in-san-jose-for-sex-trafficking-
young-woman-he-found-on-instagram/.

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                                   Portsmouth, New Hampshire from approximately 2016 through

                                   2017.109

                      liii.        A fourteen (14) year old girl was held against her will at a Motel

                                   6 in Raleigh, North Carolina and sex trafficked in or around

                                   January 2019.110

                       liv.        Additionally, Defendant G6 has been aware of sex trafficking

                                   occurring on Motel 6 brand properties through publicly available

                                   online review websites such as www.yelp.com. Online reviews

                                   show the pervasiveness of customer reported sex trafficking on

                                   Motel 6 brand properties and Defendant G6’s inattentiveness, for

                                   example:

                                   •        Regarding a July 2010 stay at a Motel 6 in Jonesboro,

                                            Georgia, a customer titled the review: “This [Motel 6] has

                                            a prostitution ring running out of the motel STAY

                                            AWAY!” He further wrote: “The owners of the hotel allow

                                            thugs to rent weekly rooms in the rear of the hotel. These

                                            thugs openly run prostitution rings in the hotel… Pimps

                                            [hurriedly] pushed young girls toward the back of the hotel

                                            yelling at them to ‘get that money.’”111

                                   •        Regarding a November 2012, stay at a Motel 6 in Madison,


109
    Elizabeth Dinan, Husband, Wife Charged In Sex Trafficking ‘Scheme’, Fosters.com (Dec. 14, 2018),
https://www.fosters.com/news/20181214/husband-wife-charged-in-sex-trafficking-prostitution-scheme.
110
    Amanda Lamb, Third Man Arrested In Raleigh Alleged Child Trafficking, WRAL.com,
https://www.wral.com/third-man-arrested-in-raleigh-alleged-child-trafficking/18104963/ (last visited Feb. 28,
2019).
111
    Review of Motel 6 Jonesboro (Jul. 26, 2010), available at https://www.tripadvisor.com/ShowUserReviews-
g35039-d86580-r72497067-Southside_Inn_Jonesboro-Jonesboro_Georgia.html.

                                                        46
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                                        Alabama a customer wrote: “[L]ocal police raided several

                                        rooms in the a.m. And arrested numerous ‘guests’ for what

                                        we later found out were drug, prostitution, and sex

                                        trafficking charges!! Like a movie. An extra $20 bucks gets

                                        you a better room, healthier conditions, and no 2 am swat

                                        team visit.”112

                                •       Another guest of the Motel 6 located at 8995 Madison

                                        Boulevard, Madison, Alabama 35758 wrote an online

                                        review in April 2015, entitled, “We’ll Leave the RED-

                                        Light on for You[,]” deriding the Motel 6 brand’s

                                        advertising campaign, “We’ll leave the light on for

                                        you®.”113 The guest went on to describe indicia of human

                                        trafficking which the security guard on site ignored and

                                        concluded: “I’ve since read other reviews that claimed

                                        prostitution, sex-trafficking, and drug use at this hotel;

                                        after my one night’s stay, I have NO reason to question

                                        these claims.”114

                                •       In September 2015, a guest of the Motel 6 located at 31

                                        North Green Bay Road, Waukegan, Illinois 60085 wrote:

                                        “HORRIBLE HOTEL!!!...Prostitutes all over, drug dealers



112
    Review Of Motel 6 Huntsville-Madison (Dec. 26, 2012), available at
https://www.tripadvisor.com/ShowUserReviews-g30677-d244048-r201566882-Motel_6_Huntsville_Madison-
Madison_Alabama.html (last visited Feb. 28, 2019).
113
    Review Of Motel 6 Huntsville-Madison (Apr. 29, 2015) https://www.tripadvisor.com/ShowUserReviews-
g30677-d244048-r266732408-Motel_6_Huntsville_Madison-Madison_Alabama.html (last visited Mar. 1, 2019).
114
    Id.

                                                   47
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                                            thru [sic] the hallway and parking lot[.]”115

                                   •        A guest of the Motel 6 located at 2727 White Lane,

                                            Bakersfield, California 93304 wrote in October 2015:

                                            “Prostitutes and drug dealers hung around outside for

                                            hours.”116

                                   •        The Motel 6 located at 20 Jefferson Boulevard, Warwick,

                                            Rhode Island 02888 received this review in April 2016:

                                            “This motel has been in the news for domestic disputes,

                                            police standoffs, illegal meth labs, robberies, beatings,

                                            prostitution, and human trafficking. I am SHOCKED they

                                            are still in business. …[T]he motel looks post apocalyptic.

                                            Stay here for Halloween if you really want the scare of your

                                            life.”117

                                   •        In September 2016, a reviewer described a Motel 6 in

                                            Austin, Texas as follows: “we witnessed shady, sketchy

                                            activities of all sorts going on in the parking lot as well as

                                            at the businesses surrounding the motel which included:

                                            drug activity and use...shady characters circling the

                                            buildings multiple times, sex worker transactions, an actual




115
    Review Of Motel 6 Waukegan (Sept. 14, 2015), available at https://www.yelp.com/biz/motel-6-waukegan (last
visited Feb. 28, 2019).
116
    Review Of Motel 6 Bakersfield (Oct. 22, 2015), available at https://www.yelp.com/biz/motel-6-bakersfield (last
visited Feb. 28, 2019).
117
    Review Of Motel 6 Warwick (Apr. 10, 2016), available at https://www.yelp.com/biz/motel-6-warwick (last
visited Feb. 28, 2019).

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                                           fight, and possible human trafficking activity.”118

                                  •        A review of the Motel 6 located at 34047 Fremont

                                           Boulevard, Fremont, California 94555 posted in February

                                           2017 stated: “Guys might be sex trafficking at this Motel

                                           6. I saw young girls and older men often.”119

                                  •        A guest of the Motel 6 located at 497 Quince Orchard

                                           Road, Gaithersburg, Maryland 20878 bemoaned in May

                                           2017: “At one point the fighting between the prostitutes

                                           and pimp was so loud that the police were called.”120

                                  •        The Motel 6 located at 1015 South Washburn Street, Osh

                                           Kosh, Wisconsin received the following review in May

                                           2018: “It was in a very dangerous area and the first night I

                                           was there and returned from an outing... there were 8 police

                                           men busting some human trafficking people!! This is

                                           common there I found out.”121

                                  •        A guest of a Motel 6 in Lawrenceville, New Jersey reported

                                           in July 2018: “[A] woman walked...in, barely able to hold

                                           herself up and clearly drugged out of her mind[.] She told

                                           [the clerk] she had ‘an appointment’ in room 2-whatever,



118
    Review of Motel 6 Austin-Midtown (Jul. 12, 2017), available at https://www.tripadvisor.com/ShowUserReviews-
g30196-d98441-r501375572-Motel_6_Austin_Midtown-Austin_Texas.html (last visited Feb. 28, 2019).
119
    Review of Motel 6 Fremont North (Feb. 2017), available at https://www.kayak.com/Fremont-Hotels-Motel-6-
Fremont-North.113185.ksp (last visited Feb. 28, 2019).
  120
      Review Of Motel 6 Gaithersburg (May 15, 2017), available at https://www.yelp.com/biz/motel-6-gaithersburg
(last visited Feb. 28, 2019).
121
    Review Of Motel 6 Oshkosh (May 20, 2018), available at https://www.booking.com/reviews/us/hotel/motel-6-
oshkosh.html (last visited Feb. 28, 2019).

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                                          he handed her a keycard, and she...flagged down a car that

                                          was pulled off near the entrance, and walked towards the

                                          rooms at the back of the building as the car followed her.

                                          To me, that screamed human trafficking/prostitution.”122

                                  •       On September 11, 2018, a reviewer of the Motel 6 located

                                          at 7541 Nates Road, Columbia, South Carolina posted:

                                          “Really nasty. My husband was propositioned and I was

                                          asked if I wanted drugs. Lots of men hanging out in lobby

                                          selling women. The room was nasty...The parking lot is

                                          harboring a sex trafficking situation along with drug sales.

                                          We were lucky to get out with our lives.”123

                                  •       A guest who stayed at the Motel 6 located at 1051 Eastern

                                          Boulevard, Montgomery, Alabama 36117 in December

                                          2018 wrote: “The drug dealers operating out of some of the

                                          rooms. Also there could have been prostitution or human

                                          trafficking going on. Very suspicious. Lots of cars in and

                                          out all night long.”124

                                  •       In reference to a December 2018, visit to a Motel 6 located

                                          at 7640 Cedar Avenue South, Richfield, Minnesota 55423,



122
    Review Of Motel 6 Lawrenceville, NJ (Jul. 10, 2018), available at https://www.travelocity.com/Princeton-
Hotels-
Howard-Johnson-By-Wyndham-PrincetonLawrenceville.h17767.Hotel-Information (last visited Feb. 28, 2019).
123
    Review Of Motel 6 - Columbia, SC (Sept. 11, 2018), available at https://www.yelp.com/biz/motel-6-columbia-2
(last visited Feb. 28, 2019).
124
    Review Of Motel 6 Montgomery - East (Jan. 1, 2019), available at
https://www.booking.com/hotel/us/montgomery-1051-eastern-boulevard.html#tab-reviews (last visited Feb. 28,
2019).

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                                           a reviewer observed: “There’s also clearly some human

                                           trafficking going on, but judging from the occasional visits

                                           by security and police, nothing is going to be done about

                                           that.”125

              lv.          In addition to the indictments and other evidence of trafficking at a Motel

                           6 property nearby, Motel 6 Columbus was aware of illegal activity at its

                           premises and refused to do anything about it. One customer who stayed at

                           the Motel 6 Columbus complained that her “[g]randdaughter [stepped] on

                           [a] broken needle left by previous [tenant]” and the manager “would not

                           make out [an incident] report,” so she had to call the police.126

                              C.      THE SEX TRAFFICKING OF R.T.

        63.         In 2006, Plaintiff R.T. was a minor when she met her first trafficker, who sold her

to his friends in exchange for drugs. R.T. arrived at the Howard Johnson and Travelodge on foot

and was not allowed to leave the room. The foot traffic in and out of the room was constant and

voluminous.

        64.         That same year, Plaintiff R.T. met her second trafficker, who built up her drug

addiction and groomed her before the trafficking began. Once the trafficking started, her trafficker

threatened her family and used her drug addiction as leverage.

        65.         From approximately 2009 to 2015, Plaintiff R.T. was repeatedly trafficked for sex


125
    Review Of Motel 6 Minneapolis Airport - Mall Of America (Jan. 8, 2019), available at
https://www.booking.com/hotel/us/motel-6-minneapolis-airport-mall-of-america.html#tab-reviews (last visited Feb.
28, 2019).
126
    Review of Motel 6 Columbus - Worthington (Aug. 18, 2015), available at https://www.expedia.com/Columbus-
Hotels-Motel-6-Columbus-Worthington.h14174.Hotel-
Information?chkin=3%2F3%2F2019&chkout=3%2F4%2F2019&rm1=a2&hwrqCacheKey=e16976ef-9a17-4721-
86d5-f4b08c98537aHWRQ1551645996343&cancellable=false&regionId=874&vip=false&c=c09cca44-f814-4c01- a3f4-
c9ce719b313d&&exp_dp=52.99&exp_ts=1551645996754&exp_curr=USD&swpToggleOn=false&exp_pg=HSR
(last visited Mar. 3, 2015).

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at the Knights Inn, Travelodge, Howard Johnson, and Motel 6 hotels in Portland, Maine. During

this time, R.T. was subject to repeated instances of rape, physical abuse, verbal abuse, exploitation,

psychological torment, and false imprisonment at the Defendants’ hotels.

        66.      R.T. was required to have sex for payment with various buyers at the Defendants’

hotels in response to advertisements for commercial sex that her trafficker posted on websites such

as www.backpage.com. 127

        67.      R.T. was sold by her trafficker for sex to approximately 2-7 “clients” per night.

        68.      Each buyer entering Defendant Hotels’ properties was a non-paying guest and left

shortly after he arrived. The foot traffic to the rooms was constant and voluminous.

        69.      The rooms where R.T. was trafficked were booked using cash or pre-paid credit

card. The rooms would always be requested on the first floor, furthest away from the lobby. After

her trafficker obtained the room keys, R.T. and several other girls would be escorted to the room

despite being unregistered guests.

        70.      Before checking out of the rooms, they would wrap their stained bedding up and

place it by the door.

        71.      At each hotel, R.T. was required to avoid eye contact with hotel staff by keeping

her eyes on the floor and was directed not to speak to anyone.

        72.      At each hotel, R.T.’s trafficker would direct R.T. or one of his girls to go to the

front desk and request extra towels and linens, but housekeeping was never allowed to enter into

the room.



127
    Backpage.com was the leading online marketplace for commercial sex, until it was seized by the federal
authorities in April 2018. Backpage.com operated in 97 countries and 943 locations worldwide—and was last valued
at more than a half-billion dollars. See STAFF OF PERMANENT SUBCOMMITTEE ON INVESTIGATIONS;
118TH CONG., REP. ON BACKPAGE.COM’S KNOWING FACILITATION OF ONLINE SEX TRAFFICKING
(Comm. Print 2017).

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       73.     On several occasions, R.T.’s trafficker injured her so badly that it would have been

noticeable to the public. Despite numerous surveillance cameras throughout the hotel properties,

no help was given to R.T. by any hotel staff.

       74.     The Plaintiff encountered the same hotel staff over the course of the time she was

trafficked for sex at the Defendant hotel properties. Hotel staff ignored R.T. and did nothing to

prevent the ongoing torture she endured while she was regularly trafficked for sex at Defendants’

hotel properties.

       75.     Despite obvious signs of human trafficking (bruises, physical deterioration,

malnourishment, no eye contact and duration of stay) and indicators of commercial sex activity

(excessive requests for towels and linens, excessive cleaning, cash payments, heavy foot traffic in

and out of the rooms), the Defendant Hotels failed to recognize or report Plaintiff R.T.’s

trafficking. Defendants harbored or otherwise facilitated a sex trafficking venture on their hotel

properties and accordingly, financially benefited from the sex trafficking the Plaintiff suffered.

Furthermore, the Defendants failed to prevent her continued victimization.

       76.     Had the Defendants been paying attention to the activities being conducted at their

hotels and on their properties, and the apparent red flags outlined above, it would have been

impossible for them not to notice the victimization of R.T.

       77.     The impact of being beaten, choked, and sex trafficked at the Defendants’ hotel

properties has forever emotionally and physically injured R.T. who, despite the many years since

her escape suffers immensely as a result of the horrors inflicted upon her at the Defendants’ hotel

properties.




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       D.     THE DEFENDANTS FACILITATED THE TRAFFICKING OF R.T.

       78.     Wyndham and G6 (“Defendant Hotels”) profited from the sex trafficking of R.T.

and knowingly or negligently aided and engaged with her trafficker in his sex trafficking venture.

The Defendants leased rooms to R.T.’s traffickers when they knew, or should have known, that

her trafficker was using their room to subject R.T. to repeated exploitation as he forced her into

sexual servitude.

       79.     Defendant Hotels knew, or should have known, that R.T. was being trafficked

and that the Defendants were knowingly benefiting financially from said exploitation, because

R.T.’s trafficker frequented the Defendants’ hotels.

       80.     Defendant Hotels knew, or should have known, that R.T. was being trafficked

because R.T. constantly entertained traffic to appease her traffickers’ daily quotas and their

behavior indicated they were using the Defendants’ hotels for his illegal sex trafficking venture.

       81.     Defendant Hotels actively participated in this illegal endeavor by knowingly or

negligently providing lodging in which to harbor R.T. while he was trafficking her.

       82.     Defendant Hotels profited from the sex trafficking of R.T. and knowingly or

negligently aided and participated with R.T.’s trafficker in his criminal venture. The Defendants

took no action as R.T. repeatedly visited the hotel, often with different guests, avoiding all eye

contact, and exhibiting signs of malnourishment.

       83.     The Defendant Hotels all had the opportunity to stop R.T.’s trafficker and

offenders like him from victimizing R.T. and others like her. Instead, every Defendant failed to

take reasonable measures to stop sex trafficking from occurring in their hotels.

       84.     The Defendant Hotels all financially benefited from the sex trafficking of R.T.,

and other victims like her, and developed and maintained business models that attract and foster



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the commercial sex market for traffickers and buyers alike.

       85.     Defendant Hotels enjoy the steady stream of income that sex traffickers bring to

their hotel brands, such as the Travelodge, Howard Johnson, Knights Inn and Motel 6.

       86.     Defendant Hotels financially benefit from their ongoing reputation for privacy,

discretion, and the facilitation of commercial sex.

       87.     Defendant Hotels failed to take any steps to alert the authorities, properly

intervene in the situation, or take reasonable security steps to improve awareness of sex

trafficking and/or prevent sexual exploitation on their properties.

       88.     Defendant Hotels maintained their deficiencies to maximize profits by:

               a.      Reducing the cost of training employees and managers on how to spot the

                       signs of human trafficking and sexual exploitation and what steps to take;

               b.      Not refusing room rentals, or reporting guests to law enforcement, in order

                       to maximize the number of rooms occupied and the corresponding rates,

                       even if the rooms rented were to sex traffickers or buyers;

               c.      Lowering security costs by not having proper security measures,

                       including, but not limited to, employing qualified security officers to

                       actively combat human trafficking and sexual exploitation;

       89.     As a direct and proximate result of these egregious practices on the part of the

Defendant Hotels, R.T. and victims of sex trafficking and exploitation like her, have been

permanently injured and damaged physically, emotionally, psychologically, and financially.

                                     CAUSES OF ACTION

                        A. COUNT ONE – 18 U.S.C §1595 (“TVPRA”)

       90.     The Plaintiff R.T. incorporates each foregoing allegation.



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       91.     R.T. is a victim of sex trafficking within the meaning of 18 U.S.C. §1591(a) and

is therefore entitled to bring a civil action under 18 U.S.C. §1595.

       92.     The Defendants’ acts, omissions, and commissions, taken separately and/or

together, outlined above, constitute a violation of 18 U.S.C. §1595. Specifically, the Defendants

had a statutory obligation not to benefit financially from a venture that they knew, or should have

known, to engage in violations of 18 U.S.C. §1591 (a). At all relevant times, the Defendants

breached this duty by participating in, and facilitating, the harboring and providing of R.T. for

the purposes of commercial sex induced by force, fraud, or coercion, by their acts, omissions,

and commissions.

       93.     The Defendants have financially benefited as a result of these acts, omissions,

and/or commissions by keeping operating costs low, and maintaining the loyalty of the segment

of their customer base that seeks to participate in the sex trade. Moreover, the Defendants directly

benefitted from the trafficking of R.T. on each occasion they received payment for rooms that

she was being kept in at the Defendants’ hotels. The actions, omissions, and/or commissions

alleged in this pleading were the but-for and proximate cause of R.T.’s injuries and damages.

       94.     R.T. has suffered substantial physical and psychological injuries as the result of

being trafficked and sexually exploited at the Defendants’ hotels and properties in violation of

18 U.S.C. §1591(a).



                                     PRAYER FOR RELIEF

       WHEREFORE the Plaintiff requests that the jury selected to hear this case render a verdict

in her favor on all counts alleged, and against each and every named Defendant, separately and

severally, and that it award damages to her in an amount which will adequately compensate her



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for the injuries and damages she sustained due to the Defendants’ conduct outlined as follows:

               a.     All available compensatory damages for the described losses with respect

                      to each cause of action;

               b.     past and future medical expenses, as well as the costs associated with past

                      and future life care;

               c.     past and future lost wages and loss of earning capacity;

               d.     past and future emotional distress;

               e.     consequential and/or special damages;

               f.     all available noneconomic damages, including without limitation pain,

                      suffering, and loss of enjoyment of life;

               g.     disgorgement of profits obtained through unjust enrichment;

               h.     restitution;

               i.     punitive damages with respect to each cause of action;

               j.     reasonable and recoverable attorneys' fees;

               k.     costs of this action; and

               l.     pre-judgment and all other interest recoverable.

       Also, on the basis of the foregoing, the Plaintiff requests that a jury be selected to hear

this case and render a verdict for the Plaintiff, and against the Defendants, and that it award

damages to the Plaintiff in an amount which adequately reflects the enormity of the Defendants’

wrongs, and which will effectively prevent other similarly caused acts. Further, the Plaintiff

requests that the Court enter judgment consistent with the jury's verdict, and prays for any other

damages and equitable relief the Court or jury deems appropriate under the circumstances.




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                 THE PLAINTIFF DEMANDS A TRIAL BY JURY


     Dated: January 13, 2020             RESPECTFULLY SUBMITTED,


                                         /s/ Teresa A. Curtin, Esq.______
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